     Case 5:10-cv-01110-DNH-DEP Document 37-1 Filed 08/01/11 Page 1 of 2



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

JAMES MULLEN and KARL SCHMIDT,
                                                                ATTORNEY’S AFFIRM ATION
                        Plaintiffs,
                                                                Civil Action No. 5:10-CV-1110
        -against-

THE CITY OF SYRACUSE, STEPHANIE
A. MINER, in her individual and official capacity
as Mayor of The City of Syracuse; FRANK L.
FOWLER, in his individual and official capacity as
Chief of Police for The City of Syracuse; JUDY
CULETON, in her individual and official capacity
as Director of the Human Resources Division of the
Syracuse Police Department; JOHN and JANE
DOES; MATTHEW DRISCOLL, in his individual
capacity as former Mayor of The City of Syracuse; and
GARY MIGUEL, in his individual capacity as former
Chief of Police for The City of Syracuse;

                  Defendants.
__________________________________________

        A.J. Bosman, Esq., an attorney duly licensed to practice law in the United States District Court

for the Northern District of New York, affirms the following statements to be true under the penalties

of perjury:

        1. I am the attorney for the Plaintiffs in this matter and, as such, familiar with the facts and

circumstances of this action. I make this affirmation in support of the Plaintiffs’ motion to amend the

amended complaint.

        2. The proposed Amended Complaint adds an additional party, Sgt. Richard Perrin, who is

a member of the Human Resources Division of the Syracuse Police Department and who has interfered

with Plaintiffs’ 207-c benefits. The Amended Complaint also adds an additional claim based upon a

denial of Plaintiffs’ Fourteenth Amendment Equal Protection rights. The bases for such claim are set

                                                  -1-
      Case 5:10-cv-01110-DNH-DEP Document 37-1 Filed 08/01/11 Page 2 of 2



forth in the proposed pleading. The Amended Complaint also adds an additional claim based upon a

denial of Plaintiffs’ Ninth Amendment rights. The bases for such claim are set forth in the proposed

pleading.

         3. A proposed Amended Complaint is attached hereto. Pursuant to the Local Rules of the

Northern District, the proposed pleading is unsigned and the amendments thereto are redlined. See, L.R.

7.1(a)(4).

         4. Rule 15(a)(2) of the Federal Rules of Civil Procedure provides, in pertinent part: “The court

should freely give leave when justice so requires.”

         5. Plaintiffs’ amendment should be allowed as their claims are meritorious, they have acted

diligently in seeking the amendment, and there is no prejudice to the Defendants.




         WHEREFORE, Plaintiffs’ motion for leave to file an amended complaint should be granted

in its entirety.


                                                         s/A.J. Bosman
                                                         A.J. Bosman
Dated: August 1, 2011
at Rome, New York




                                                   -2-
